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                                                                        Department of Public Works & Engineering
                                                                           Buildîng Code Enforcement Branch


                                                                                                                                             SPECT



     Name   on     certificate

 Address         of    Business_            '
                                                                                        i.
 Bullding        No.    (if     Applicable)                                              Zip Code                                        otal No. of Floors

 Number          of Units (Apartrnent                    Bullding)                                                                      Phone Number

 Previous Type                 of Business         (if    Different Than Proposed)

 Present      or      Proposed Type                of Business                                 Ûl
 Square      Feet



                        es                      Address                                                            /                          -            7
                  ha                 oe         City/State/21p
                                                rean                          D
                                                                                '
                                                                                              CO    de        A cwv
Applicant Signature                                          t
                                                                                    I    heæby declam the above information                   is    currect


                                                         Please Complete the Deed Restriction                               Unsworn Declaration


Certificate  Compliance
                 of                                                                                                                                                       $456,13
                   (Additional Floors including Basement Levels)                                                              Per Floor                                   $11(1,03
Each Additional sq. ft, above 10,000 sq, ft. maximum of 200,000                                        sq.   ft.                                                          $  00,01

Residential Multi-Famíly Buildings/Per Contiguous Project                                                                     (1   To   30 Units}                         $456.13
                                                                                                                              (Each Addlilonal Dwelling Unit)             $       11.40


Duplicate Certificate {Life SâletylOccupancy)

Certificate Name Change Only                                                                                                                                                  $   79.82
Certificate for individual retail                 or     office   spaces less than 3,000 square feet                   in

multi-tenant buildings                                                                                                                                                    $228.07
If   the certificate requested in connection with the building core and the inspectian
                          is

is   performed during the same inspection.                                                                                                                                5       79.82

Investigallon fee              (If   warranted)                                                                                                                       $       283.14
                                                          Adrninistrative      Fee           of $28.50       per   Application Not included




                                                                                            City of Houston
                                                                               oc        þancy Inspections Section
                                                                                                P.O.   Box 2068
                                                                                        Houston.       TX TT252-2688

Form No: CE-1045A rev 01/01/2018                                        (832) 394-8860                                        Public Works         &   Engineering   Page          1   of   1




                                                                              EXHIBIT 1
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                                               Department of Public Works & Engineering
                                                  Building Code Enforcement Branch


                                   APPLICATION FOR OCCUPANCY, COMPLIANCE INSPECTION

                                                                  (Please Print)
Name on Certificate

Address of Business

Building No. (lf Applicable)                              Zip Code                        Total No. of Floors

Number of Units (Apartment Building)                                                       Phone Number

Previous Type of Business (if Different Than Proposed)

Present or Proposed Type of Business

Square Feet
                             Name
          Mailing
          Address            Address
          lf Different
          Than Above         City/State/Zip
                             Email
Applicant Signature
                                                         I hereby declare the above information is correct

                                   Please                the Deed Restriction Unsworn Declaration

Certificate of Compliance                                                                                               $447.29
                  (Additional Floors lncluding Basement Levels)                       Per Floor                         $111.82
Each Additional sq. ft. above 10,000 sq. ft. maximum of 200,000 sq .ft.                                                 $   00.01
Residential Multi-Family Buildings/Per Contiguous Prolect                            (1 To 30 Units)                    $447.29
                                                                                     (Each Additional Dwelling Unit)    $   1   1.18

Duplicate Certificate (Life Safety/Occupancy)                                                                            $ 78.27
Certificate Name Change Only                                                                                             $ 78.27
Certificate for individual retail or office spaces less than 3,000 square feet in
multi-tenant buildings                                                                                                  $223.65
lf the certificate is requested in connection with the building core and the inspection
is performed during the same inspection.                                                                                $   78.27

lnvestigation fee (if warranted)                                                                                        bzll.bb
                                    Administrative Fee of $27.95




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                                                                                      PROJECT # (assigned by City):



                        DECLARATION IN SUPPORT OF APPLICATION FOR CITY OF HOUSTON
                                                BUILDING PERMIT
                                (For Us6 by Corporate orOther*BusipessEntity Ownehs) . '

STATE OF . TEXAS.                 !   "
               i.


COUNTY OF HARRIS             $



        "'Mi   r"-":i; 'Li[& &WIU]^t
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                i-'                                                      ,
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    A
    i]ff:lrU"'U,-(f, ,-_,t-t662 .                        tr,uT ov6r the age of eighteeh,and I am legally competent to make this
Declaration. I have personal knowledgb of every fact stated herein and every f*g1.rtayO heleiq is lrue and correct.
This Declaration will be submitted to the'Ciry.df Houston, Texas,(the.'Citf)'h, iar of the Application for a
Building Permit for a project ('thq projqcl^')tocared or to.be locateo in trre                        6M*" gf kh{:f }{tmbl-t *n *\tg
Subdivision, Block          No. I               ,                            1it," 'farA'.;. Th6 plr),ri.rl mailing address of the Land is
                                                    "*ffi!-A-                                 'L{.UirtfUu'r.                rexas   -frlCr;?
        The OWNER of the Land is                                                                                                     ,   which is a

     t rc.
(Type of entity. i.?.Texas Corporralign)
                                                                     My position with

is rhat or            iglfrt-.}f I r'fsr.                            as       such-   I    am an atthorrzed representative and, as             such,
authorized to execute this Declaration on the Owner's behalf. I understand this Declaration is binding on the Owner.

        I   also understand,          for the pu{poses of this Application, the term 'Deed Restriction' means any and every
restriction or covenant contained in (or incorporated by reference into) a plan, plat,replat, deed, or any other publicly
recorded document that limits or affects the use of the Land                          in   any   way. I further understand copies of the Deed
Restrictions,if any, are available for review at the office of the Clerk of the County in which the Land is located.
The Project does not violate the Deed Restrictions, if any, that apply to the Land.

        I LTNDERSTAND AND AGREE that if                          any fact stated in this Declaration is false, the City may void any
permit(s) issued by the City for the Project, and the City may order the Owner or its successor to remove all or part
of the Project at my or our own expense.
        I declare under penalty of perjury the foregoing is true and correct.

        Executed       i,   {t&,y         fiS         counry, State of rexas, on theaa0 auv                or   I.,4   dYt[i1               ,20-Lfi



                                                                         Authorized Representative of         atq thp* [Mrrvs                         iLL€
